963 F.2d 367
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wayne Edward BUTLER, Petitioner-Appellant,v.Joseph H. LOFTON, Superintendent;  Attorney General of NorthCarolina, Respondents-Appellees.
    No. 92-6240.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  May 4, 1992Decided:  May 22, 1992
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.  Richard C. Erwin, Chief District Judge.  (CA-91-12-3)
      Wayne Edward Butler, Appellant Pro Se.
      Richard Norwood League, Office of the Attorney General of North Carolina, Raleigh, North Carolina, for Appellees.
      M.D.N.C.
      DISMISSED.
      Before HALL, WILKINS, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Wayne Edward Butler seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C.s 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Butler v. Lofton, No. CA-91-12-3 (M.D.N.C. Jan. 14, 1992).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We grant Butler leave to proceed in forma pauperis in this Court
      
    
    